      Case 1:18-cv-09936-LGS-SLC Document 121 Filed 09/27/19 Page 1 of 15




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
JANE DOE, LUKE LOE, RICHARD ROE, and MARY :
MOE, individually and on behalf of all others similarly                 :
situated,                                                               :
                                                                        :
                                         Plaintiffs,                    :
                                                                        :   No. 1:18-cv-09936 (LGS)
                  v.                                                    :
                                                                        :
THE TRUMP CORPORATION, DONALD J. TRUMP, in :
his personal capacity, DONALD TRUMP, JR., ERIC                          :
TRUMP, and IVANKA TRUMP,                                                :
                                                                        :
                                         Defendants.                    :
                                                                        :
------------------------------------------------------------------------X




                         REPLY BRIEF IN SUPPORT OF DEFENDANTS’
                            MOTION TO COMPEL ARBITRATION




                                                              Joanna C. Hendon
                                                              Cynthia Chen
                                                              Andrew L. Kincaid
                                                              SPEARS & IMES LLP
                                                              51 Madison Avenue
                                                              New York, New York 10010
                                                              Tel: (212) 213-6996

                                                              Attorneys for Defendants
         Case 1:18-cv-09936-LGS-SLC Document 121 Filed 09/27/19 Page 2 of 15




                                                  TABLE OF CONTENTS

                                                                                                                                   Page

TABLE OF CONTENTS ................................................................................................................. i

TABLE OF AUTHORITIES .......................................................................................................... ii

   I.     The Court Should Compel Arbitration and Stay the Case .................................................. 1

   II.    The Motion to Compel Arbitration is Timely ..................................................................... 7

CONCLUSION ............................................................................................................................. 10




                                                                  -i-
       Case 1:18-cv-09936-LGS-SLC Document 121 Filed 09/27/19 Page 3 of 15




                                               TABLE OF AUTHORITIES

Cases

Alghanim v. Alghanim,
   828 F. Supp. 2d 636 (S.D.N.Y. 2011)........................................................................................7

Bankers Conseco Life Ins. Co. v. Feuer,
   2018 WL 1353279 (S.D.N.Y. Mar. 15, 2018) .......................................................................1, 5

Cooper v. Ruane Cunniff & Goldfarb Inc.,
   2017 WL 3524682 (S.D.N.Y. Aug. 15, 2017) ...........................................................................5

Denney v. BDO Seidman, LLP,
   412 F. 3d 58 (2d Cir. 2005)....................................................................................................1, 4

Fensterstock v. Educ. Fin. Partners,
   2012 WL 3930647 (S.D.N.Y. 2012) ..................................................................................4, 5, 6

Louisiana Stadium & Exposition Dist. v. Merrill Lynch,
   626 F.3d 156 (2d Cir. 2010).......................................................................................................7

McCoy v. Dave & Buster’s, Inc.,
  2018 WL 550637 (E.D.N.Y. Jan. 24, 2018) ..............................................................................8

Medidata Solutions, Inc. v. Veeva Systems Inc.,
  2018 WL 1083968 (S.D.N.Y. Feb 27, 2018) .............................................................................6

Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp.,
  460 U.S. 1 (1983) ......................................................................................................................1

PPG Indus., Inc. v. Webster Auto Parts, Inc.,
  128 F.3d 103 (2d Cir.1997)........................................................................................................8

Ragone v. Atl. Video at Manhattan Ctr.,
   595 F.3d 115 (2d Cir. 2010)...............................................................................................1, 3, 4

Ross v. American Exp. Co.,
   547 F.3d 137 (2d. Cir. 2008)..................................................................................................4, 6

Rush v. Oppenheimer & Co.,
   779 F.2d 885 (2d Cir. 1985).......................................................................................................9

Senisi v. John Wiley & Sons, Inc.,
   2015 WL 256094 (S.D.N.Y. Jan. 21, 2015) ..............................................................................8




                                                                  - ii -
       Case 1:18-cv-09936-LGS-SLC Document 121 Filed 09/27/19 Page 4 of 15




Sokol Holdings, Inc. v. BMB Munai, Inc.,
   542 F.3d 354 (2d Cir. 2008).......................................................................................................4




                                                               - iii -
     Case 1:18-cv-09936-LGS-SLC Document 121 Filed 09/27/19 Page 5 of 15




        Defendants submit this reply in further support of their motion to stay this action in favor

of an order compelling Plaintiffs to arbitrate their claims against Defendants. With their

opposition brief, Plaintiffs seek to avoid arbitration by ignoring or misstating applicable law,

proffering, instead, red herrings, strawmen and their own ipse dixit. Binding Supreme Court

precedent – which Plaintiffs disregard – requires that “any doubts concerning the scope of

arbitrable issues should be resolved in favor of arbitration, whether the problem at hand is the

construction of the contract language itself or an allegation of waiver, delay, or a like defense to

arbitrability.” Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24-25 (1983).

Together with the authorities cited in Defendants’ moving brief, this lodestar requires the Court

to stay this case in favor of arbitration.

I.      The Court Should Compel Arbitration and Stay the Case

        To find Plaintiffs equitably estopped from avoiding arbitration, the Court first must

determine whether “the issues the nonsignatory is seeking to resolve in arbitration are

intertwined with the agreement that the estopped party has signed.” Ragone v. Atl. Video at

Manhattan Ctr., 595 F.3d 115, 126-27 (2d Cir. 2010) (internal quotation marks omitted). Where

a party alleges concerted action by a non-signatory and a signatory, the party cannot later

“escape the consequences of those allegations by arguing that [the non-signatory] and [the

signatory] lack the requisite close relationship, or that plaintiffs’ claims … are not connected to

[the non-signatory’s] relationship with [the signatory].” Denney v. BDO Seidman, LLP, 412 F.3d

58, 70 (2d Cir. 2005); accord Bankers Conseco Life Ins. Co. v. Feuer, 2018 WL 1353279, at *7

(S.D.N.Y. Mar. 15, 2018). This holding controls here. The Complaint unambiguously pleads

concerted action by Defendants and ACN to use Defendants’ endorsement of ACN to induce

Plaintiffs to join ACN. Plaintiffs allege:



                                                -1-
     Case 1:18-cv-09936-LGS-SLC Document 121 Filed 09/27/19 Page 6 of 15




   Central to Defendants’ fraudulent scheme was a company called ACN, a multi-level
    marketing company (“MLM”) that offers a business opportunity to individual participants.
    (Compl. ¶ 3)

   ACN – short for American Communications Network – was central to the aspect of
    Defendants’ fraudulent scheme that is challenged by this action. (id. ¶ 16)

   The ACN “Business Opportunity” Needed High-Profile Endorsement To Recruit and
    Maintain Investors. (Compl. 31)

   In order to make both the small-group recruiting meetings and the larger motivational rallies
    successful, it was critical for ACN to obtain high-profile celebrity endorsement. Enter the
    Trump Enterprise. (id. ¶ 85)

   ACN first announced that the Trump Enterprise had agreed to promote and endorse ACN in
    the Q4 2005 edition of ACN Newsmagazine, ACN’s quarterly magazine sent to IBOs. The
    announcement stated that Trump would be “featured in a variety of … media over the
    coming months, all designed to help you build your ACN business.” (id. ¶ 86)

   Debbie Davis, an ACN “Senior Vice President and Circle of Champions Member,” wrote on
    ACN’s Company Blog that: “[ACN’s appearance on The Celebrity Apprentice] has simply
    changed the game. Because of the show, many representatives were able to talk to people
    they’ve never talked with before, and . . . many of those people may have never heard of the
    ACN home-based business opportunity. When Mr. Trump acknowledged our Co-Founders as
    “friends” of his, at that moment, ACN was oozing with credibility.” (id. ¶ 101)

   ACN made crystal clear that Trump’s brand was an impactful recruiting tool for investors in
    two principal ways: first, it attracted the interest of prospective investors and second, it would
    help close the deal with prospective recruits. As ACN Newsmagazine explained, the ACN
    Opportunity Disc was designed to “pique interest in ACN and get existing prospects off the
    fence,” including by using “the powerful endorsement of Donald J. Trump.” (id. ¶ 173)

   ACN executives repeatedly emphasized that the Trump brand would heighten the impact of
    his endorsement in the minds of prospective investors. ACN co-founder Tony Cupisz was
    quoted as saying “You’ve got that incredible disc with Donald Trump on it . . . whoever
    hands out the most of those discs will get the most results. . . . Donald Trump is promoting
    your business for you” (emphasis added). Co-founder Mike Cupisz noted that Trump’s
    support for ACN was unparalleled: “We have got Donald Trump – a multi-billionaire –
    giving us the highest level endorsement than any other network marketing company has ever
    had in history.” (id. ¶ 174)

   [I]t was not only the [ACN endorsement] conveyed by Trump that so misled investors. It was
    ACN’s ability to associate itself with the Trump brand – a right that ACN secretly bought
    from the Trump Enterprise – that drove the fraudulent message home and pushed investors to
    overcome lingering doubts and invest in the ACN business opportunity. (id. ¶ 177)



                                                -2-
     Case 1:18-cv-09936-LGS-SLC Document 121 Filed 09/27/19 Page 7 of 15




       Plaintiffs’ arguments that finding intertwinedness in this case depends upon “an

acontextual reading of two words” in their Complaint, and that the “subject matter” of their

dispute is not the contract they signed with ACN, but rather Defendants’ statements and

omissions (Opp. Br. 9), are belied by the allegations in the Complaint, from which Plaintiffs now

backtrack. In fact, the “subject matter” of virtually all of the statements upon which Plaintiffs

rely is the Business Opportunity that ACN sold Plaintiffs under the agreements Plaintiffs contend

are irrelevant to their claims. (See, e.g., Compl. ¶¶ 8, 17, 19, 105-07, 114, 117, 119, 123, 133,

212, 226, 254, 265). To prove any of these statements false, moreover, Plaintiffs will have to

establish that what ACN sold them, under the same agreements, was not as advertised. Further,

Plaintiffs’ damages allegedly consist of fees they paid to ACN under the same agreements.

Accordingly, Plaintiffs will have to overcome the provision of those agreements in which they

“acknowledge that as an IBO, I am not guaranteed any income nor am I assured any profits or

success and I certify that no claims of guaranteed profits or representations of expected earnings

that might result from my efforts as an IBO have been made by ACN or my sponsor.” (ECF No.

114, Ex. A-C, ¶ 5).

       The second prong of the analysis asks whether there exists “a relationship among the

parties of a nature that justifies a conclusion that the party which agreed to arbitrate with another

entity should be estopped from denying an obligation to arbitrate a similar dispute with the

adversary which is not a party to the arbitration agreement.” Ragone, 595 F.3d at 127 (internal

quotation marks omitted). In response, Plaintiffs devote pages of briefing to establishing that

they did not subjectively consent to arbitrate disputes with Defendants (Opp. Br. 8-13), a fact not

contested on this motion and asserted by every party opposing application of equitable estoppel.

       The relationship “of a nature that justifies” test is objective. It looks “not to evidence that



                                                -3-
     Case 1:18-cv-09936-LGS-SLC Document 121 Filed 09/27/19 Page 8 of 15




the estopped party actually intended or expected that any dispute with the nonsignatory would be

subject to arbitration,” Fensterstock v. Educ. Fin. Partners, 2012 WL 3930647, at *4 (S.D.N.Y.

2012) (internal quotation marks omitted), but to whether plaintiff’s agreement to arbitrate is

“‘reasonably seen. . . as extending not only to the other signatory, but also to a non-signatory

related to the latter . . . that was, or would predictably become, with the knowledge and consent

of the party opposing arbitration, affiliated or associated with the other signatory in such a

manner as to make it unfair to allow the party opposing arbitration to avoid its commitment to

arbitrate on the ground that the non-signatory was not the very entity with which the party

opposing arbitration had a contract.’” Ross v. Am. Exp. Co., 547 F.3d 137, 145-46 (2d Cir. 2008)

(internal modifications omitted) (quoting Sokol Holdings, Inc. v. BMB Munai, Inc., 542 F.3d

354, 361 (2d Cir. 2008)).

       Courts in this circuit have found the requisite relationship not in a “limited category” of

cases, as Plaintiffs opine (Opp. Br. 11), but across many and varied fact patterns, and on behalf

of every defendant to have articulated a plausible basis for their doing so. For example, over Ms.

Ragone’s objection, the Court of Appeals held that ESPN, with whom she never contracted and

whose personnel she alleged sexually harassed her, could avail itself of an arbitration agreement

Ms. Ragone signed with her employer, the production company that assigned her to provide hair

and make-up services to ESPN. Ragone, 595 F.3d at 127-28. Over the objection of taxpayers

seeking to sue Deutsche Bank for its role in recommending fraudulent tax shelter transactions to

them, the Court of Appeals found the requisite relationship present between plaintiffs and

Deutsche Bank, because the Complaint alleged that Deutsche Bank and the accountants with

whom the taxpayers did agree to arbitrate “acted in concert,” because the firms jointly marketed

the tax shelters alongside Deutsche Bank. Denney, 412 F.3d at 70-71. The Court neither



                                                -4-
     Case 1:18-cv-09936-LGS-SLC Document 121 Filed 09/27/19 Page 9 of 15




searched for nor paused at the absence of any of the three “limited categor[ies] of relationship”

proffered by Plaintiffs.

       Last year, in Bankers Conseco Life Ins. v. Feuer, the District Court, over plaintiffs’

objection, held that two individuals and the investment management firm they owned

(Beechwood Capital) – with whom plaintiffs had not contracted – could avail themselves of the

arbitration agreement between plaintiffs and a separate entity, Beechwood Re, because

“Plaintiffs allegedly were fraudulently induced into executing the Reinsurance Agreements with

Beechwood Re via representations made by the individual defendants on behalf of Beechwood

Capital.” Bankers Conseco, 2018 WL 1353279, at *7. In that case, as here, the plaintiffs argued

that their claims “do not arise from the subject matter of the Reinsurance Agreements,” and that

the language in the arbitration clause limiting coverage to disputes “between the parties” should

be strictly enforced. The Court rejected both arguments, finding that “the bulk of Plaintiffs’

claims . . . arise from the formation, execution, and existence of” the agreements and “the first

six pages of Plaintiffs’ Amended Complaint detail the conspiracy allegations against Defendants

via the creation and utilization of Beechwood Re as a means to defraud.” Id. at *5.

       In Cooper v. Ruane Cunniff & Goldfarb Inc., 2017 WL 3524682 (S.D.N.Y. Aug. 15,

2017), appeal withdrawn, 2017 WL 8219086 (2d Cir. Dec. 19, 2017), over plaintiff’s objection,

the District Court found the requisite relationship between the plaintiff and a non-signatory

investment advisor, because the record showed the plaintiff knew his employer had engaged the

investment advisor to manage the firm’s 401k and profit sharing plans, and the relationship

between the employer and the investment manager was longstanding. In Fensterstock, over

plaintiff’s objection, the District Court found the requisite relationship between the plaintiff and

the servicer of his loan, even though the note containing the arbitration clause did not reference



                                                -5-
     Case 1:18-cv-09936-LGS-SLC Document 121 Filed 09/27/19 Page 10 of 15




the servicer and the servicer was not known to plaintiff when he signed the note. That the

borrower knew the servicer’s identity “almost from the very beginning of his loan repayment,”

without more, was sufficient. Fensterstock, 2012 WL 3930647, at *5-6.

       This case slots neatly into this precedent. Defendants seek to estop Plaintiffs from

avoiding arbitration of disputes arising from the circumstances by which they were induced to

enter into agreements with ACN, where Defendants are alleged to have teamed up with ACN to

make misleading statements about the ACN Business Opportunity for the purpose of inducing

Plaintiffs to enter into those very agreements. It is difficult to conceive of a tighter nexus among

the parties, the claims, the signatories, and the contracts than this. Contra Medidata Sols, Inc. v.

Veeva Sys. Inc., 2018 WL 1083968 (S.D.N.Y. Feb 27, 2018), aff’d, 748 F. App’x 363 (2d Cir.

2018) (declining to apply the doctrine where “the only relationship alleged between Plaintiffs

and Defendant is that of competitors”); Ross, 547 F.3d at 148 (same where movant was “a

complete stranger” to the agreements).

       Plaintiffs deride the notion that they “must have known that when they signed agreements

with ACN that they were coming to a meeting of the minds with the Trumps as well” (Opp. Br.

7; see also id. at 13 (the “fanciful idea that Plaintiffs considered themselves to be entering into an

agreement with the Trumps when they signed agreements with ACN”).) But that is not

Defendants’ argument. Indeed, it is little more than a reformulation of the “actual consent” test

to which Plaintiffs cling, but which is not the law. Under Second Circuit precedent, the Court

must compel Plaintiffs to arbitration because it is equitable to do so, given the relationships

among the parties, ACN, the IBO Agreements, and the claims against Defendants.

       Nor should the Court be persuaded by the theme, newly-minted for this motion, that

Plaintiffs understood Mr. Trump to be “independen[t]” of ACN or Defendants to be “objective



                                                -6-
      Case 1:18-cv-09936-LGS-SLC Document 121 Filed 09/27/19 Page 11 of 15




commentators” (Opp. Br. 2, 7), because the Complaint alleges just the opposite. See, e.g.,

Compl. ¶ 17 (“Trump . . .repeatedly, explicitly, and bombastically endorsed ACN”); ¶ 86 (“ACN

first announced that the Trump Enterprise had agreed to promote and endorse ACN”); ¶ 87

(“ACN . . . explained to investors the unprecedented significance of Trump’s endorsement”); ¶

96 (“Trump disseminated the Message during at least fourteen appearances at major ACN

events”); ¶ 144 (In a 2012 edition of the ACN Opportunity Disc, Trump stated, “I’ve been

working with ACN for a few years now”); ¶ 146 (“I . . . have [a] special relationship with the

founders”); ¶ 147 (Trump disclosing to an ACN audience that “he had ‘agreed to extend the

relationship for a substantial period of time’”); see also ECF No. 114 at 14.1

II.      The Motion to Compel Arbitration is Timely

         Defendants’ motion is timely. “In determining whether a party has waived its right to

arbitration by expressing its intent to litigate the dispute in question, [the Court must] consider

the following three factors: ‘(1) the time elapsed from when litigation was commenced until the

request for arbitration; (2) the amount of litigation to date, including motion practice and

discovery; and (3) proof of prejudice.’” La. Stadium & Exposition Dist. v. Merrill Lynch, 626

F.3d 156, 159 (2d Cir. 2010). “[T]he above factors must be applied to the specific context of

each particular case. That said, the key to a waiver analysis is prejudice. Waiver of the right to

compel arbitration due to participation in litigation may be found only when prejudice to the

other party is demonstrated.” Id. (internal quotation marks and alterations omitted). But

“[i]ncurring legal expenses inherent in litigation, without more, is insufficient evidence of



1
  Plaintiffs mischaracterize Defendants’ agency argument, which incorporates fourteen paragraphs of the Complaint
(ECF No. 114 at 11-12), and not simply “a pair of statements” by counsel in a brief, as Plaintiffs claim (Opp. Br.
16). Plaintiffs are also wrong that it is “far from clear” that a non-signatory may rely upon principles of agency to
compel a signatory to arbitrate, as Plaintiffs assert (id. 15). “[C]ourts in this and other circuits consistently have held
that employees or disclosed agents of an entity that is a party to an arbitration agreement are protected by that
agreement.” Alghanim v. Alghanim, 828 F. Supp. 2d 636, 650 (S.D.N.Y. 2011) (internal quotation marks omitted).

                                                          -7-
     Case 1:18-cv-09936-LGS-SLC Document 121 Filed 09/27/19 Page 12 of 15




prejudice to justify a finding of waiver,” PPG Indus., Inc. v. Webster Auto Parts, Inc., 128 F.3d

103, 107 (2d Cir.1997), and Plaintiffs can muster no more than that here.

       Instead, Plaintiffs seek to burden shift, proclaiming that Defendants must proffer a

“compelling justification” (Opp. Br. 17) for raising the subject of arbitrability after they filed

their motion to dismiss, and not before. There is no requirement that a defendant make such an

election, nor that it justify not having done so in order to avoid waiver, and no case Plaintiffs cite

states otherwise. Nor can Plaintiffs avoid the consequences of the decision they made to shield

their identities not only from the public, but from Defendants, too – a strategy bound to delay

any determination of arbitrability and one Plaintiffs may have embraced for just that purpose. In

any event, the law is clear that a party cannot claim waiver where its own litigation strategy

contributes to the alleged delay. See Senisi v. John Wiley & Sons, Inc., 2015 WL 256094, at *4

(S.D.N.Y. Jan. 21, 2015) (finding no waiver where “Senisi’s own litigation strategy was a factor

in the timing of the instant motion practice.” Senisi initially sought “only a declaratory

judgment,” and “Wiley filed this motion less than three months” after Senisi “filed the SAC

asserting the specific claims at issue here.” In this context, Wiley’s “delay was not unreasonable

by any measure”); McCoy v. Dave & Buster’s, Inc., 2018 WL 550637, at *4 n.5 (E.D.N.Y. Jan.

24, 2018) (finding no waiver in part because “defendant moved to compel arbitration shortly

after discovering the existence of the arbitration agreement”).

       Plaintiffs’ citation to unrelated cases in which Defendants sought to compel arbitration

only undercuts their argument. In those cases, Defendants knew plaintiffs’ names, had custody

of the arbitration agreements at issue (because they signed them), and thus could assess

arbitrability immediately. None of that is true here, where Defendants still do not have copies of

Plaintiffs’ IBO Agreements. See Affirmation of Cynthia Chen in Support of Defendants’ Motion



                                                 -8-
     Case 1:18-cv-09936-LGS-SLC Document 121 Filed 09/27/19 Page 13 of 15




to Compel Arbitration, dated September 27, 2019 ¶¶ 6-10.

       Plaintiffs continue their sleight of hand, contending Defendants “litigate[d] this case

aggressively for the better part of a year” (Opp. Br. 1), “adopted an aggressive litigation defense

posture” (id. 4), “repeatedly manifested their intent to litigate” (id. 17), made “enthusiastic use of

this Court’s power and authority” (id. 18), including “by serving a battery of nonparty

subpoenas” (id.). All this, by way of describing a five-month period in which Defendants (a)

filed a motion to dismiss, (b) sought a stay of discovery pending decision on that motion, and (c)

re-filed the motion when Plaintiffs chose to amend their pleading, rather than oppose the motion.

       Lost in Plaintiffs’ brief is mention of the fact that the subpoenas noticed by Defendants

were for document preservation only (and not for discovery which was stayed), that it was

Plaintiffs, and not Defendants, who obtained relief from the stay in order to serve such notices

(ECF No. 59 at 30), or that the “battery” of preservation notices served by Defendants ran to ten,

compared to the 42 that Plaintiffs noticed. See (Chen Aff. ¶¶ 4-5). Absent, is the fact that, in the

eight months that transpired between the filing of the action and Defendants’ raising the issue of

arbitrability, three are a nullity under the waiver analysis, because, the Court was considering,

and had not yet decided, Defendants’ motion to dismiss, and discovery was stayed. Missing, too,

is that the Second Circuit has already held it “beyond question that defendants’ delay in seeking

arbitration during approximately eight months of pretrial proceedings is insufficient by itself to

constitute a waiver of the right to arbitrate.” This, in a case where the Defendant not only filed a

motion to dismiss, but, unlike here, engaged in “extensive discovery” and answered the

complaint, interposing 13 affirmative defenses without raising the issue of arbitrability. Rush v.

Oppenheimer & Co., 779 F.2d 885, 887 (2d Cir. 1985) (emphasis added) (reversing waiver




                                                -9-
      Case 1:18-cv-09936-LGS-SLC Document 121 Filed 09/27/19 Page 14 of 15




ruling).2

          Two other points merit mention. Plaintiffs accuse Defendants of keeping the instant

motion “in their back pocket in the event they lost their motion to dismiss” and adopting a

“heads I win, tails we arbitrate strategy.” (Opp. Br. 18, 23). That is false. Notwithstanding that

the Court’s rules discourage such correspondence, Defendants wrote to the Court before decision

on the motion to dismiss (and with no inkling as to when one might issue), to raise the fact that

they intended to move to compel arbitration following decision on that motion. “[T]he

contemplated motion to compel arbitration would be dispositive, if granted,” Defendants wrote,

and “there is already pending a dispositive motion.” (ECF No. 94). Defendants therefore wrote

“respectfully to request the Court’s guidance as to how to proceed” (id.), conduct plainly

inconsistent with gamesmanship.

          Finally, Plaintiffs in a footnote abandon their argument that waiver of a right to compel

named plaintiffs to arbitrate waives that right with respect to putative class members. (Opp. Br.

16 n.8). Defendants of course cannot waive any right they possess as to non-parties. (ECF 114

at 18-19). Because Defendants may compel every putative class member to arbitrate, Plaintiffs

cannot satisfy CAFA’s thresholds, and the Court lacks jurisdiction over Plaintiffs’ state law

claims.

                                                  CONCLUSION

          For the reasons set forth above and in Defendants’ moving brief, the Court should stay



2
  The notion that Plaintiffs’ motion to proceed pseudonymously “would have been fundamentally different” had
Defendants’ raised the issue of arbitrability earlier in the case (Opp. Br. 19) strains credulity, both because Plaintiffs
intentionally avoided arbitration (where their identities would have been confidential) by filing a lawsuit accusing
ACN of defrauding them of ACN enrollment fees, without naming ACN in this action. But also because, even after
Plaintiffs’ right to remain pseudonymous in this case expired (on July 24, 2019), they contemptuously refused to
disclose their identities to Defendants (ECF No. 104 at 9), a position they maintained until two weeks ago, relenting
only when the Court, over Defendants’ objection, approved a protective order that effectively pseudonymized
Plaintiffs for as long as their lawsuit is in this Court. (ECF No. 104 at 9; Chen Aff. ¶¶ 6-7).

                                                         - 10 -
     Case 1:18-cv-09936-LGS-SLC Document 121 Filed 09/27/19 Page 15 of 15




this action and order Plaintiffs to arbitrate their state law claims with Defendants.




                                               Respectfully submitted,

                                               /s/ Joanna C. Hendon

                                               Joanna C. Hendon
                                               Cynthia Chen
                                               Andrew L. Kincaid

                                               SPEARS & IMES LLP
                                               51 Madison Avenue
                                               New York, New York 10010
                                               Tel: (212) 213-6996
                                               Fax: (212) 213-0849
                                               jhendon@spearsimes.com
                                               cchen@spearsimes.com
                                               akincaid@spearsimes.com

                                               Attorneys for Defendants




                                                - 11 -
